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IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF GEORGIA
ATLANTA DIVISION

DAVID J. GALLANT,
individually and on behalf of all
others similarly situated : Civil Action File No.

Plaintiff, : l : l 5-cv-0445 1 -MHC
vs.

FOLEY DE SIGN ASSOCIATES
ARCHITECTS, INC. and
WILLIAM H. FOLEY,

Defendants.

 

.IoINT MoTIoN To APPRovE A FAlR LABoR STANDAR]) ACT SETTLEMENT
AND RELEASE AGREEMENT

 

COME NOW, Plaintiff David J. Gallant (“Plaintiff”) and Defendants Foley
Design Associates Architects, Inc. and William I-I. Foley (collectively referred to as
“Defendants”), move this Court to review and approve their Settlement and
Release Agreement, and in support thereof, show this Court as follows:

l.

This is an FLSA oase. Plaintiff filed his Complaint [Dkt. l] on December
23, 2015, alleging violations of the Fair Labor Standards Act (“FLSA”), 29 U.S.C.
§201, et Seq.

 

 

 

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2.
The Parties, acting at arms-length and over the course of several weeks, in
good faith and with the advice of counsel have negotiated and entered into a
Settlement'and Release Agreement (“The Agreernent”).
3.
A copy of the Agreernent is attached hereto as Exhibit “A”.
4.
Pursuant to Lynn s Food Sz‘ores, Inc. v. Um`ted States ofAm., 679 F.Zd 135 0,
1353 (11Th Cir. 1982), judicial approval is required to effectuate Plaintiff’s release
of his FLSA claims, which is material to the Agreement.
5.
In determining whether the Agreernent is fair and reasonable, the Court
should consider the following factors:
(1) the existence of collusion behind the settlement;
(2) the complexity, expense, and likely duration of the litigation;
(3) the stage of the proceedings and the amount of discovery completed;
(4) the probability of plaintiffs success on the merits;
(5) the range of possible recovery; and
(6) the opinions of counsel.
See Leverso v. Souz‘h Trusr Bank ofAla. Naz‘. Assoc., 18 F. 3d 1527, 1531 n. 6 (1lth
Cir. 1994); Hamz`lton v. Frito-Lay, Inc., No. 6:05-cv-1592~Orl-22]GG, 2007 U.S.

 

 

 

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Dist. LEXIS 10287, at *2-3, (M.D. Fla. 2007). There is a strong presumption in
favor of finding a settlement to be fair. Edwards v. CFR Sales & Marketing, 2011
U.S. Dist. LeXis 134705) (citing Cotton v. Hinton, 559 F. 2d 1326, 1331 (Sth Cir.
1977)).

6.

lf this settlement is approved, Plaintiff will receive $5,000 ($2,500 in unpaid
wages and $2,500 in liquidated damages). Plaintiff estimates that if he received a
100 percent recovery, he would have received $9,536.80 ($4,768.40 in unpaid
wages and $4,768.40 in liquidated damages). The amount of backpay and
liquidated damages in the settlement is equivalent to approximately 52 percent of
the amount Plaintiff would have received if he was successful on all claims at trial.

7.

Prior to reaching this settlement, the parties engaged m extensive written
discovery, exchanging thousands of documents and emails. The parties had
scheduled but had not yet taken any depositions Given the vast amount of
documents and the fact that depositions had not yet been completed, Plaintiff’s
counsel submits that the Agreement is reasonable in both terms and amount for
three reasons. First, for Plaintiff to be successful on his claims, Plaintiff would
demonstrate that he was misclassified as an independent contractor. Second,
Plaintiff would have to overcome Defendants’ contention that he fell within the

confines of the learned professional FLSA exemption Third, because it is very

 

 

 

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unlikely that this matter would be resolved on summary judgment, Plaintiff would

have to proceed to trial, further prolonging the process without any guarantee that

he would prevail. Plaintiff’s compromise was reasonable in light of these factors.
8.

As between Plaintiff and his counsel, all discussion and subsequent demands
to Defendants were broken down as to amounts to the Plaintiff and amounts to his
counsel. The amount of attorneys’ fees and costs set forth in the Agreement
represents legal work that was necessary to the prosecution of this case at rates
previously approved for Plaintiff’s counsel in FLSA cases in this District. The
amount of attorneys’ fees agreed upon as part of the settlement, $20,000, is
approximately 74 percent of the total amount of attomeys’ fees and costs incurred
($26,8'74) as of the time this motion was prepared. As such, Plaintiff’s counsel also
made a substantial compromise in order to effectuate this Agreement.

9.

Once the Court approves the Agreement, and all Payments are made, the

Parties will file a Stipulation of Dismissal of this case with prejudice.
10.
The parties request that the Court retain jurisdiction over this matter and

incorporate the Agreement into its Order granting this Motion.

 

 

 

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WHEREFORE, the Parties respectfully request that this Court review and

approve their Settlement Agreement and Release of Claims. For the Court’s

convenience, a proposed Order granting this l\/lotion is attached hereto.

Respectfully submitted this 29th day of December, 2016.

DELoNG CALDWELL BRn)GERs
FITZPATRICK & BENJAM]N, LLC

s/ Charles R_ Bridgers
Charles R. Bridgers
Georgia Bar No. 080791

 

s/ Kevz`n D. Fitzpatrz`ck, Jr:
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COUNSEL FOR DEFENDANTS

 

 

 

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CERTIFICATE OF COMPLIANCE
Pursuant to Local Rule 7.1(D), l hereby certify that the foregoing has been
prepared in compliance with Local Rule 5.1(B) in l4-point Times New Roman

type face.

This 29t]1 day of December, 2016.

/s/ David L. Pardue
David L. Pardue
Georgia Bar No. 561217

 

 

 

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CERT[FICATE OF SERVICE
l hereby certify that l have this day filed a true and correct copy of the
within and foregoing JOINT MOTION TO APPROVE A FAIR LABOR
STANDARDS ACT SETTLEMENT AND REL]i]ASE AGREEMENT with the
clerk of court using the CM/ECF system, which will automatically effectuate
service through email notification of such filing to the following attorneys of
record:

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This 29th day of December, 2016.
OWEN, GLEATON, EGAN, JoNEs & SWEENEY, LLP

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